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      Attorney for Plaintiff Kevin Washington

                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                            BUTTE DIVISION
 Kevin Washington an individual and
 minority owner of CryptoWatt              Cause No.: CV-20-2-BU-BMM-KLD
 Investment Partners, LLC sole member
 of CyproWatt Mining, LLC
                                            NOTICE OF APPEARANCE OF
               Plaintiff,                           COUNSEL
 v.

 Matthew Brent Goettsche an individual
 and majority owner of CryptoWatt
 Investment Parnters, LLC sole member
 of CryptoWatt Mining, LLC

               Defendant.


      PLEASE TAKE NOTICE THAT Tyson A. McLean, of KRIS A. MCLEAN

LAW FIRM, PLLC, PO Box 1136, Florence, Montana 59833 advises the Court of

his appearing as counsel on behalf of Plaintiff Kevin Washington, and requests to

be entered as an attorney of record.



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     RESPECTFULLY SUBMITTED this 8th day of January 2020.

                                       by/s/Tyson A. McLean
                                       Tyson A. McLean
                                       KRIS A. MCLEAN LAW FIRM, PLLC
                                       Attorney for Defendant




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                         CERTIFICATE OF SERVICE

       I hereby certify that on this 8th day of January 2020, a true and correct copy
of the foregoing Notice of Appearance of Counsel was served upon the following
by CM/ECF Filing:


John E. Smith
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                                DATED this 8th day of January 2020.

                                              /s/ Tyson A. McLean
                                              Tyson A. McLean
                                              Kris A. McLean Law Firm, PLLC
                                              Attorney for Kevin Washington




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